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                                                                                                  U.S. BANKRUPTCY COURT
                                                                                                NORTHERN DISTRICT OF TEXAS


                                                                                                   ENTERED
                                                                                                TAWANA C. MARSHALL, CLERK
                                                                                                    THE DATE OF ENTRY IS
                                                                                                  ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed June 18, 2014
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


         In re:                                                      Chapter 15

         MtGox Co., Ltd. (a/k/a MtGox KK),                           Case No. 14-31229-sgj-15

                         Debtor in a Foreign Proceeding.


                          ORDER RECOGNIZING FOREIGN MAIN PROCEEDING
                                 AND GRANTING RELATED RELIEF

                  Upon the Amended Verified Petition for Recognition and Chapter 15 Relief (the

     “Amended Recognition Petition”) 1 [Docket No. 126] filed by Nobuaki Kobayashi (the

     “Petitioner”), in his capacity as the bankruptcy trustee and foreign representative of the above-

     captioned debtor (the “Debtor”), seeking recognition of the bankruptcy procedure of the Debtor

     under Japan’s Bankruptcy Act currently pending before the Tokyo District Court, Twentieth

     Civil Division (the “Japan Proceeding”), as a “foreign main proceeding” pursuant to section


     1     Capitalized terms referred to but not otherwise defined herein shall have the meanings ascribed to them in the
           Amended Recognition Petition.


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1517 of title 11 of the United States Code (the “Bankruptcy Code”) and related relief under

Chapter 15 of the Bankruptcy Code; and upon the hearing on the Amended Recognition Petition

and this Court’s review and consideration of the Amended Recognition Petition, the Declaration

of Nobuaki Kobayashi in Support of the Amended Verified Petition for Recognition and Chapter

15 Relief [Docket No. 127], and the Memorandum of Law in Support of Amended Petition for

Recognition and Chapter 15 Relief [Docket No. 128];

          IT IS HEREBY FOUND AND DETERMINED THAT:2

          A.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

          B.        The consideration of the Amended Recognition Petition and the relief requested

therein is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

          C.        For purposes of the relief sought in the Amended Recognition Petition only,

venue is proper before this Court pursuant to 28 U.S.C. § 1410, subject to the Joint Stipulation

and Order Between the Greene Plaintiffs and the Foreign Representative of MtGox Co., Ltd.

[Docket No. 149] (the “Greene Stipulation”) and the Joint Stipulation and Order Between the

Foreign Representative of MtGox Co., Ltd. and CoinLab, Inc. [Docket No. 147] (the “CoinLab

Stipulation”).

          D.        Good, sufficient, appropriate and timely notice of the filing of the Amended

Recognition Petition and the hearing on the Amended Recognition Petition has been given by the




2     The findings and conclusions set forth herein and in the record of the hearing on the Amended Recognition
      Petition constitute this Court’s findings of facts and conclusions of law pursuant to Rule 52 of the Federal Rules
      of Civil Procedure, as made applicable herein by Rules 7052 and 9014 of the Federal Rules of Bankruptcy
      Procedure (the “Bankruptcy Rules”). To the extent any of the findings of fact herein constitute findings of fact,
      they are adopted here as such. To the extent any of the conclusions of law herein constitute findings of fact,
      they are adopted as such.

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Petitioner, pursuant to the Order Granting Approval of Amended Notice Procedures with Respect

to Recognition Hearing, entered on May 22, 2014 [Docket No. 124].

          E.        No objections or other responses were filed that have not been overruled,

withdrawn, or otherwise resolved.

          F.        The Petitioner has satisfied the requirements of section 1515 of the Bankruptcy

Code.

          G.        The Petitioner has satisfied the requirements of Bankruptcy Rule 1007(a)(4).

          H.        The Petitioner is a “person” pursuant to section 101(41) of the Bankruptcy Code

and is the “foreign representative” of the Debtor as such term is defined in section 101(24) of the

Bankruptcy Code.

          I.        The Japan Proceeding is a “foreign proceeding” as such term is defined in section

101(23) of the Bankruptcy Code.

          J.        The Japan Proceeding is pending in Japan, where the Debtor’s “center of main

interests,” as referred to in section 1517(b)(1) of the Bankruptcy Code, is located and,

accordingly, the Japan Proceeding is a “foreign main proceeding” as such term is defined in

section 1502(4) of the Bankruptcy Code, and is entitled to recognition as a foreign main

proceeding pursuant to section 1517(b)(1) of the Bankruptcy Code.

          K.        The Petitioner is entitled to all the relief provided pursuant to sections 1520,

1521(a)(4) and 1521(a)(5) of the Bankruptcy Code without limitation.

     BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE
DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFOR, IT IS
HEREBY ORDERED THAT:

          1.        The Amended Recognition Petition is GRANTED.




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          2.        The Japan Proceeding is recognized as a foreign main proceeding pursuant to

sections 1517(a) and 1517(b)(1) of the Bankruptcy Code, and all of the effects of recognition as

set forth in section 1520 of the Bankruptcy Code shall apply.

          3.        The Petitioner is and shall be recognized as the foreign representative of the

Debtor.

          4.        The Petitioner is entitled to the full protections and rights enumerated under

sections 1521(a)(4) and 1521(a)(5) of the Bankruptcy Code, and accordingly, the Petitioner:

               a. has the right and power to examine witnesses, take evidence or deliver

                    information concerning the Debtor’s assets, affairs, rights, obligations, or

                    liabilities; and

               b. is entrusted with the administration and realization of all of the Debtor’s assets

                    within the territorial jurisdiction of the United States.

          5.        The Petitioner is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

          6.        Pursuant to the CoinLab Stipulation:

               a. Any and all claims, rights and defenses that CoinLab, Inc. (“CoinLab”) possesses

                    prior to entry of this Order, whether under the Bankruptcy Code, or as otherwise

                    asserted in its status conference statement (the “Status Conference Statement”)

                    [Docket No. 129], are fully reserved after entry of this Order in accordance with

                    the terms of this Order, including but not limited to CoinLab’s right or defense to:

                         i. oppose any sales of assets or settlements of or involving assets of the

                            Debtor that purport to be free and clear of CoinLab’s asserted claims,

                            intellectual property licenses, rights or defenses;



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                         ii. take any action CoinLab deems appropriate to defend any of its asserted

                             claims, rights or defenses in the Japan Proceeding or in this Chapter 15

                             case in accordance with applicable law or against any person or entity

                             besides the Debtor and the Foreign Representative; and

                         iii. file a motion seeking to transfer venue of this Chapter 15 case to a venue

                             that CoinLab believes is preferable or appropriate, in the event that

                             another party files such a motion or if a challenge to venue is brought

                             before the Court by another party or on the Court’s own motion (but

                             CoinLab shall not otherwise raise a challenge to venue in this Chapter 15

                             case).

               b. The reservation of rights and defenses as set forth herein shall not prejudice

                    CoinLab’s ability to assert such rights or defenses in the future if such disputed

                    issues become ripe for consideration by this Court, provided that nothing in this

                    Order shall be construed as granting CoinLab any rights, claims or defenses that it

                    did not possess prior to entry of this Order.

               c.    Notwithstanding anything to the contrary set forth in subparagraphs (a) and (b)

                    above, except that CoinLab shall suffer no prejudice or adverse effect from its

                    agreement to reserve rights and defenses with respect to issues either raised in the

                    Status Conference Statement or not presently before the Court in reliance on the

                    CoinLab Stipulation, nothing herein shall be, nor shall be deemed to be, (i) a

                    modification or impairment in any respect of (a) the effects of recognition of the

                    Japan Proceeding as a foreign main proceeding under the Bankruptcy Code or

                    other applicable law, (b) the rights of the Foreign Representative upon such



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                    recognition, or (c) the other relief granted pursuant to this Order, or (ii) a waiver

                    of any rights, claims or defenses of the Foreign Representative or CoinLab,

                    including, without limitation, (x) the Foreign Representative’s right to

                    subsequently seek any relief, or dispute and oppose any relief subsequently sought

                    by CoinLab, in this Chapter 15 case, in the Japan Proceeding or otherwise, or (y)

                    CoinLab’s right to respond thereto or otherwise to dispute and oppose any relief

                    subsequently sought by the Foreign Representative in this Chapter 15 case, in the

                    Japan Proceeding or otherwise.

          7.        This Order is subject to the Greene Stipulation and all rights reserved in the

Greene Stipulation remain in full force and effect.

          8.        This Court shall retain jurisdiction with respect to: (i) the enforcement,

amendment or modification of this Order; (ii) any requests for additional relief; (iii) any

adversary proceeding in and through this Chapter 15 case; and (iv) any request by an entity for

relief from the provisions of this Order, for cause shown, that is properly commenced and within

the jurisdiction of this Court.

                                       # # # END OF ORDER # # #




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